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ED’A
F. # 2024R00956

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X

UNITED STATES OF AMERICA

       - against -                                         20-CR- 06(BMC)

AARON WEINREB,

                     Defendant.

---------------------------X

                                   NOTICE OF APPEARANCE

               PLEASE TAKE NOTICE that Assistant United States Attorney Elizabeth

D’Antonio from this point forward will be added as counsel in the above-captioned matter.

               All future correspondence to the United States in the above-captioned matter

should be sent to:

               Assistant U.S. Attorney Elizabeth D’Antonio
               United States Attorney’s Office (Criminal Division)
               271-A Cadman Plaza East
               Brooklyn, New York 11201
               Tel: (718) 254-6416
               Fax: (718) 254- 6321
               Email: Elizabeth.d’antonio@usdoj.gov
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               In addition, the Clerk of the Court is respectfully requested to ensure that all

future ECF notifications are sent to Assistant United States Attorney Elizabeth D’Antonio at the

email address set forth above.

Dated:    Brooklyn, New York
          December 18, 2024

                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney

                                          By:     /s/ Elizabeth D’Antonio
                                                  Elizabeth D’Antonio
                                                  Assistant U.S. Attorney

cc:      Clerk of the Court (BMC)
